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AB.PAS
F,#2018R02301


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                         X


UNITED STATES OF AMERICA                                AFFIDAVIT AND
                                                        COMPLAINT IN SUPPORT
           - against -                                  OF AN APPLICATION FOR
                                                        AN ARREST WARRANT
MICHAEL BROGAN,
                                                        (T. 18, U.S.C., §§ 115(a)(1)(B) and 875(c))
                         Defendant.
                                                        18-M-1206
                                         X


EASTERN DISTRICT OF NEW YORK,SS:

               JOHN R. DELEGAN,being duly sworn, deposes and states that he is a Special

Agent with the United States Capitol Police, duly appointed according to law and acting as

such.


               On or about December 4, 2018, within the Eastern District of New York and

elsewhere, the defendant MICHAEL BROGAN did knowingly and intentionally threaten to

murder a United States official, with intent to impede,intimidate, or interfere with such official

while engaged in the performance of official duties, and with intent to retaliate against such

official on account of the performance of official duties, to wit, MICHAEL BROGAN

threatened to murder a United States Senator in retaliation for the United States Senator's


criticism of the President of the United States of America and the Senator's position

concerning reproductive rights.

                     (Title 18, United States Code,Section 115(a)(1)(B))
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               On or about On or about December 4,2018, within the Eastern District of New

York and elsewhere, the defendant MICHAEL BROGAN did knowingly and intentionally

transmit in interstate and foreign commerce a communication containing a threat to injure the

person of another, to wit, a threat to kill a United States Senator.

                         (Title 18, United States Code, Section 875(c))

               The source of your deponent's information and the grounds for his belief are as

follows:


               1.      I am a Special Agent with the United States Capitol Police ("USCP"),

Investigations Division, Threat Assessment Section, and have been involved in the

investigation of numerous cases involving threatening communications made to federal

officials. The information in this Complaint comes from my personal involvement in the

investigation, a review ofrecords of USCP and other govemment agencies, reports of witness

interviews and conversations with other law enforcement officers.            Unless specifically

indicated, all conversations and statements described in this affidavit are related in sum and

substance and in part only. Because the purpose of this Complaint is to set forth only those

facts necessary to establish probable cause to arrest, I have not described all the relevant facts

and circumstances of which I am aware.


               2.      I have reviewed a recorded voice-message (herein afterwards "the

Voice-Message")that was provided to me by the staffofa sitting United States Senator(herein

afterwards "the Senator"). The Senator is a "United States official" as defined in 18 U.S.C.

§ 115(c)(4). The Voice-Message was received by the Senator at the Senator's Washington,

D.C. office.        The Voice-Message was recorded on or about December 4, 2018 at
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approximately 7:31 p.m. by a voice that appeared to be consistent with a male caller, who did

not identify himself. The caller on the Voice-Message stated in sum and substance and

in part:

              You listen very carefully. Stupid ass excuse. You call
              yourself a Senator, you're a piece of shit. You are an
              absolute piece of shit. Senator. Senator, and I put that in
              quotation marks [the Senator], you're a fucking phony.
              You watch your ass cause I [unintelligible], I'm going to
              put a bullet in ya. When I'm in D.C. and you're there, I
              got your fucking mark you stupid bitch. You and your
              constant lambasting ofPresident Trump. Oh,reproductive
              rights, reproductive rights. You know what? I'm cursing
              and I'm in sin because of people like you, ok? Cause I
              value the God given right to life. You are alive. You
              should thank our lord and savior Jesus Christ that you are
              alive. But instead, reproductive rights, reproductive
              rights. IfI saw you,I'd snuff your stupid fucking ass. I'd
              put a fucking bullet in you. You watch your ass. If I see
              you on the streets, I'm gonna fucking light you up with
              fucking bullets.

              4.     I have reviewed records obtained from a wireless telephone service

provider for the phone number that was associated with the Voice-Message. Those records

indicate that the Voice-Message was left by a wireless telephone number(718)XXX-XX61.'

Based on my review of these wireless telephone records, I further learned that wireless

telephone service for telephone number (718) XXX-XX61 was paid for by defendant,

MICHAEL BROGAN (herein afterwards "BROGAN"). These payment records include an

email address associated with BROGAN as well as a user address in Brooklyn, New York.

Additionally,(718)is a telephone area code that includes the geographic location ofBrooklyn,

New York. Further law enforcement investigation has determined that the user address in


       ^      The complete wireless telephone number is known to me, but for privacy
purposes I have omitted the entire telephone number reference in this affidavit.
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Brooklyn, New York is associated with BROGAN. Based on my further review of location

information provided by BROGAN's wireless telephone service provider, I learned, in

substance, that the call to the Senator was made from at or in the vicinity ofBROGAN's home

in Brooklyn, New York.

              5.     I have also reviewed phone records obtained from the telephone service

provider for the Senator's Washington, D.C. office. These phone records corroborate a call

from BROGAN's wireless telephone number(718)XXX-XX61 on the date and time that the

Voice-Message was left on the answering machine at the Senator's Washington, D.C. office.

              6.     I have also reviewed BROGAN's social media information, including

information in which he previously indicated that in or about January 2017 and in or about

January 2018 he traveled Washington, D.C. for the annual "March for Life." A review of

publicly available information on the March for Life's event page states, "[m]arch against

abortion and build a culture of life." Specifically, BROGAN posted on social media in or

about January 2017,"on way to march for life 2017 in our nation's capital." In a separate

social media post regarding the 2018 March for Life BROGAN posted,"[o]n the charter bus

with St. Francis DeSales parish of Belle Harbour to March for Life 2018 in Washington, DC.

Will this be the year?" Additional investigation has determined that the annual March for Life

is currently scheduled to take place in or about January 2019 in Washington, D.C. Based on

the Voice-Message discussed above that makes explicit reference to BROGAN's travel to

Washington, D.C., as well as his prior travel to Washington, D.C., there is probable cause to

conclude BROGAN was the author ofthe Voice-Message.

              7.     On or about December 12, 2018, Special Agents from the United States

Capitol Police conducted a search warrant at BROGAN's Brooklyn, New York home. A
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forensic review of a wireless telephone found in BROGAN's home uncovered that it was the

wireless telephone used to call the Senator from telephone number(718)XXX-XX61.

              8.     BROGAN was read his Miranda rights, which he waived, agreeing to

speak without an attorney present. BROGAN admitted to calling the Senator, but stated that

he could not remember what he said in the Voice-Message. He further stated, in sum and

substance and in part, that before leaving the Voice-Message he had watched an internet video

ofthe Senator including Senator's criticism ofthe President ofthe United States as well as the

Senator's views on reproductive rights and that viewing the Senator's statements regarding

these political views made him "very angry."

              9.     On or about December 12, 2018, I spent approximately 3 hours with

BROGAN, during which time I became familiar with his voice. I have reviewed the above-

referenced Voice-Message, and based on my own experience with BROGAN,I believe that

there is probable cause that BROGAN is the individual who left the Voice-Message for the

Senator.
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             WHEREFORE, your deponent respectfully requests that the defendant

MICHAEL BROGAN be dealt with according to law.




                                    JOHN iTdelegan
                                    special Agent, United States Capitol Police

Sworn to before me this
     day ofDecember,2018



THE HONORABLE STEVEN L. TISCIONE
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
